         Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 1 of 50




1
     Randall T. Garteiser (CA State Bar No. 231821)
        rgarteiser@ghiplaw.com
2    Christopher A. Honea (CA State Bar No. 232473)
3
        chonea@ghiplaw.com
     GARTEISER HONEA—IP TRIAL BOUTIQUE
4    795 Folsom St., Floor 1, San Francisco, CA 94107
5    119 W Ferguson, Tyler, TX 75702
     Telephone: (888) 908-4400
6

7    Attorneys for Plaintiff

8
                      IN THE UNITED STATES DISTRICT COURT
9
                    FOR THE NORTHERN DISTRICT OF CALIFORNIA
10

11
           DISPLAY TECHNOLOGIES, LLC
12                  Plaintiff,
                                                                    Case No. 3:24-cv-703
13
                          v.
14                                                                  Jury Trial Demanded
15
           DISCORD INC.,
16                  Defendants.
17

18
                               COMPLAINT FOR PATENT INFRINGEMENT

19
            Plaintiff files this complaint for patent infringement against defendant and alleges as follows:

20
                                                  PARTIES

21
            1.     Plaintiff is a Texas limited liability company with an office at 1 East Broward

22
     Boulevard, Suite 700, Ft. Lauderdale, FL 33301.

23
            2.     On information and belief, Defendant Discord Inc. is headquartered at 444 De Haro

24
     St., San Francisco, CA 94107.

25
            3.     Venue is proper in the Northern District of California as to Defendant pursuant to at

26
     least 28 U.S.C. §§ 1391 and 1400.

27

28
                                                     1
                                            ORIGINAL COMPLAINT
         Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 2 of 50




1                                                     PATENT FAMILY
2           4.        Display Technologies is the owner of U.S. Patent Numbers 9,300,723 (Exhibit A) and
3    8,671,195 (Exhibit C).
4           5.        The ’723 Patent claims priority to a Continuation-in-Part of U.S. application Serial No.
5    11/999,570, filed on Dec. 7, 2007, which is incorporated by reference in its entirety to the ’723 patent
6    specification.
7           6.        According to Google Patents, the ’723 Patent has an anticipated expiration date of no
8    earlier than January 8, 2029.          See website page, as last visited on January 24, 2029, at
9    https://patents.google.com/patent/US9300723B2/en?oq=9%2c300%2c723.
10          7.        The examiner performed a thorough examination that included searching in eleven
11   categories, including these:
12                    a.    “H04W4/80 Services using short range communication, e.g. near-field
13                         communication [NFC], radio-frequency identification [RFID] or low energy
14                         communication.”
15                    b.   “H04W12/086 Access security using security domains”
16                    c.   “H04W12/08 Access security,”
17                    d. “H04M1/72412 User interfaces specially adapted for cordless or mobile
18                         telephones with means for local support of applications that increase the
19                         functionality by interfacing with external accessories using two-way short-range
20                         wireless interfaces,”
21                    e. “H04M1/724098 Interfacing with an on-board device of a vehicle,”
22                    f. “H04L67/06 Protocols specially adapted for file transfer, e.g. file transfer protocol
23                         [FTP],”
24                    g. “H04L65/75 Media network packet handling,”
25                    h. “H04L63/20 Network architectures or network communication protocols for
26                         network security for managing network security; network security policies in
27                         general,”
28
                                                            2
                                                   ORIGINAL COMPLAINT
           Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 3 of 50




1                      i. “H04L63/10 Network architectures or network communication protocols for
2                         network security for controlling access to devices or network resources,”
3                      j. “H04L63/0209 Architectural arrangements, e.g. perimeter networks or
4                         demilitarized zones,”
5                      k. “H04B1/3822 Transceivers, i.e. devices in which transmitter and receiver form a
6                         structural unit and in which at least one part is used for functions of transmitting
7                         and receiving specially adapted for use in vehicles.”
8              8.      The ’723 Patent is cited by large electronic suppliers, including Sony Mobile
9    Communications, Inc. in its publication US20160337303A1, titled “Method and system for approving
10   or disapproving connection requests.”1
11
                                                     COUNT I
12
                     (INFRINGEMENT OF UNITED STATES PATENT NO. 9,300,723)
13             9.      Plaintiff incorporates above paragraphs herein by reference.

14             10.     The ’723 Patent does not expire under January 8, 2029.
15             11.     This cause of action arises under the patent laws of the United States, Title 35 U.S.C.
16
     §§ 271, et seq.
17
               12.     Plaintiff is the owner by assignment of the ’723 Patent with sole rights to enforce the
18
     ’723 Patent and sue infringers.
19

20
               13.     A copy of the ’723 Patent, titled “Enabling social interactive wireless

21   communications,” is attached hereto as Exhibit A.

22             14.     The ’723 Patent is valid, enforceable, and was duly issued in full compliance with
23   Title 35 of the United States Code.
24
               15.     Defendant has infringed and continues to infringe Claims 22, 24, 27, 29 and 30 of
25
     the ’723 Patent by making, using, and/or selling its Accused Instrumentality. See Exhibit B.
26

27

     1
28       Sony is an investor in Discord.
                                                        3
                                               ORIGINAL COMPLAINT
         Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 4 of 50



            16.       Defendant’s actions complained of herein will continue unless Defendant is enjoined
1

2    by this court.

3           17.       Defendant’s actions complained of herein are causing irreparable harm and monetary
4    damage to Plaintiff and will continue to do so unless and until Defendant is enjoined and restrained
5
     by this Court.
6

7

8

9

10

11

12

13

14

15

16

17

18

19

20   Figure 1 – Excerpt from Page 2 of Exhibit 2.

21

22

23

24

25

26

27

28
                                                      4
                                             ORIGINAL COMPLAINT
         Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 5 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13

14

15   Figure 2 – Excerpt from Page 3 of Exhibit 2.
16

17

18

19

20

21

22

23

24

25

26

27

28
     Figure 3 – Excerpt from Page 4 of Exhibit 2.

                                                    5
                                           ORIGINAL COMPLAINT
         Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 6 of 50




1

2

3

4

5

6

7

8

9

10   Figure 4 – Excerpt from Page 5 of Exhibit 2.

11

12

13

14

15

16

17

18

19
     Figure 5 – Excerpt from Page 6 of Exhibit 2.
20

21

22

23

24

25

26

27

28
                                                    6
                                           ORIGINAL COMPLAINT
         Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 7 of 50




1

2

3

4

5

6

7

8

9

10

11   Figure 6 – Excerpt from Page 7 of Exhibit 2.

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
     Figure 7 – Excerpt from Page 8 of Exhibit 2.
27

28
                                                    7
                                           ORIGINAL COMPLAINT
         Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 8 of 50




1

2

3

4

5

6

7
     Figure 8 – Excerpt from Page 9 of Exhibit 2.
8

9

10

11

12

13

14

15

16

17

18

19

20

21

22

23   Figure 9 – Excerpt from Page 10 of Exhibit 2.
24

25

26

27

28
                                                    8
                                           ORIGINAL COMPLAINT
         Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 9 of 50




1

2

3

4

5

6

7

8

9

10
     Figure 10 – Excerpt from Page 11 of Exhibit 2.

11

12

13

14

15

16

17

18

19

20

21

22
     Figure 11 – Excerpt from Page 12 of Exhibit 2.
23

24

25

26

27

28
                                                    9
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 10 of 50




1

2

3

4

5

6

7

8

9

10

11   Figure 12 – Excerpt from Page 13 of Exhibit 2.
12

13

14

15

16

17

18

19

20
     Figure 13 – Excerpt from Page 14 of Exhibit 2.
21

22

23

24

25

26

27

28
                                                   10
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 11 of 50




1

2

3

4

5

6

7

8

9

10

11
     Figure 14 – Excerpt from Page 15 of Exhibit 2.
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27   Figure 15 – Excerpt from Page 16 of Exhibit 2.
28
                                                   11
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 12 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13

14

15
     Figure 16 – Excerpt from Page 17 of Exhibit 2.
16

17

18

19

20

21

22

23

24

25   Figure 17 – Excerpt from Page 18 of Exhibit 2.
26

27

28
                                                   12
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 13 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13

14

15
     Figure 18 – Excerpt from Page 19 of Exhibit 2.
16

17

18

19

20

21

22

23

24

25

26

27

28
                                                   13
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 14 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13

14   Figure 19 – Excerpt from Page 20 of Exhibit 2.

15

16

17

18

19

20

21

22

23

24

25

26

27   Figure 20 – Excerpt from Page 21 of Exhibit 2.
28
                                                   14
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 15 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13   Figure 21 – Excerpt from Page 22 of Exhibit 2.
14

15

16

17

18

19

20

21

22

23

24

25
     Figure 22 – Excerpt from Page 23 of Exhibit 2.

26

27

28
                                                   15
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 16 of 50




1

2

3

4

5

6

7

8

9

10

11
     Figure 23 – Excerpt from Page 24 of Exhibit 2.
12

13

14

15

16

17

18

19

20

21

22

23

24

25

26   Figure 24 – Excerpt from Page 25 of Exhibit 2.
27

28
                                                   16
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 17 of 50




1

2

3

4

5

6

7

8

9    Figure 25 – Excerpt from Page 26 of Exhibit 2.
10

11

12

13

14

15

16

17

18

19

20

21

22
     Figure 26 – Excerpt from Page 27 of Exhibit 2.
23

24

25

26

27

28
                                                   17
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 18 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13   Figure 27 – Excerpt from Page 28 of Exhibit 2.
14

15

16

17

18

19

20

21

22   Figure 28 – Excerpt from Page 29 of Exhibit 2.
23

24

25

26

27

28
                                                   18
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 19 of 50




1

2

3

4

5

6

7

8

9    Figure 29 – Excerpt from Page 30 of Exhibit 2.

10

11

12

13

14

15

16

17

18
     Figure 30 – Excerpt from Page 31 of Exhibit 2.
19

20

21

22

23

24

25

26

27

28
                                                   19
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 20 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13

14
     Figure 31 – Excerpt from Page 32 of Exhibit 2.
15

16

17

18

19

20

21

22

23

24

25
     Figure 32 – Excerpt from Page 33 of Exhibit 2.
26

27

28
                                                   20
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 21 of 50




1

2

3

4

5

6

7

8

9
     Figure 33 – Excerpt from Page 34 of Exhibit 2.
10

11

12

13

14

15

16

17

18

19

20

21

22

23   Figure 34 – Excerpt from Page 35 of Exhibit 2.

24

25

26

27

28
                                                   21
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 22 of 50




1

2

3

4

5

6

7

8
     Figure 35 – Excerpt from Page 36 of Exhibit 2.
9

10

11

12

13

14

15

16

17

18
     Figure 36 – Excerpt from Page 37 of Exhibit 2.

19

20

21

22

23

24

25

26

27
     Figure 37 – Excerpt from Page 38 of Exhibit 2.

28
                                                   22
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 23 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13

14
     Figure 38 – Excerpt from Page 39 of Exhibit 2.
15

16

17

18

19

20

21

22
     Figure 39 – Excerpt from Page 40 of Exhibit 2.
23

24

25

26

27

28
                                                   23
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 24 of 50




1

2

3

4

5

6

7

8

9
     Figure 40 – Excerpt from Page 41 of Exhibit 2.
10

11

12

13

14

15

16

17

18

19

20

21

22

23   Figure 41 – Excerpt from Page 42 of Exhibit 2.
24

25

26

27

28
                                                   24
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 25 of 50




1

2

3

4

5

6

7

8
     Figure 42 – Excerpt from Page 43 of Exhibit 2.
9

10

11

12

13

14

15

16

17

18   Figure 43 – Excerpt from Page 44 of Exhibit 2.

19

20

21

22

23

24

25

26

27   Figure 44 – Excerpt from Page 45 of Exhibit 2.

28
                                                   25
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 26 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13

14
     Figure 45 – Excerpt from Page 46 of Exhibit 2.
15

16

17

18

19

20

21

22

23

24

25
     Figure 46 – Excerpt from Page 47 of Exhibit 2.
26

27

28
                                                   26
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 27 of 50




1

2

3

4

5

6

7

8

9

10
     Figure 47 – Excerpt from Page 48 of Exhibit 2.
11

12

13

14

15

16

17

18

19

20

21

22

23
     Figure 48 – Excerpt from Page 49 of Exhibit 2.
24

25

26

27

28
                                                   27
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 28 of 50




1

2

3

4

5

6

7

8

9

10
     Figure 49 – Excerpt from Page 50 of Exhibit 2.
11

12

13

14

15

16

17

18

19

20

21

22

23

24
     Figure 50 – Excerpt from Page 51 of Exhibit 2.
25

26

27

28
                                                   28
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 29 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13   Figure 51 – Excerpt from Page 52 of Exhibit 2.
14

15

16

17

18

19

20

21

22   Figure 52 – Excerpt from Page 53 of Exhibit 2.
23

24

25

26

27

28
                                                   29
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 30 of 50




1

2

3

4

5

6

7

8

9
     Figure 53 – Excerpt from Page 54 of Exhibit 2.

10

11

12

13

14

15

16

17

18
     Figure 54 – Excerpt from Page 55 of Exhibit 2.
19

20

21

22

23

24

25
     Figure 55 – Excerpt from Page 56 of Exhibit 2.
26
            18.    Plaintiff is in compliance with 35 U.S.C. § 287.
27

28
                                                   30
                                           ORIGINAL COMPLAINT
         Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 31 of 50



             19.     Defendant’s infringement is willful as it had knowledge of the patents through its
1

2    Freedom to Operate analysis performed on information and belief, through conversations about its

3    alleged infringement with counsel for Display Technologies, LLC, and via this lawsuit.
4
                                         COUNT II
5                  (INFRINGEMENT OF UNITED STATES PATENT NO. 8,671,195)
6
           20.       Plaintiff refers to and incorporates the allegations in Paragraphs above, the same as
7
     if set forth herein.
8
           21.       Defendant has infringed and continues to infringe, claims 1, 6, 7, 9, 17, 18, 19, 21,
9
     23 of the ’195 Patent in violation of 35 U.S.C. § 271. Upon information and belief, Defendant has
10

11   infringed and continues to infringe these claims by making, using, importing, selling, and/or offering

12   for sale (as identified in the Claim Chart attached hereto as Exhibit D) the Accused
13   Instrumentalities.
14
           22.       Defendant also has and continues to directly infringe, literally or under the doctrine
15
     of equivalents, these asserted claims of the ’195 Patent, by having its employees internally test and
16
     use the Accused Instrumentalities.
17

18
           23.       The service of this Complaint, in conjunction with the attached Claim Chart and

19   references cited, constitutes actual knowledge of infringement as alleged here.

20

21

22

23

24

25   Figure 56 – Excerpt from Page 55 of Exhibit 4.

26

27

28
                                                     31
                                             ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 32 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13
     Figure 57 – Excerpt from Page 56 of Exhibit 4.
14

15

16

17

18

19

20

21

22

23

24

25   Figure 58 – Excerpt from Page 57 of Exhibit 4.

26

27

28
                                                   32
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 33 of 50




1

2

3

4

5

6

7

8
     Figure 59 – Excerpt from Page 58 of Exhibit 4.
9

10

11

12

13

14

15

16

17

18   Figure 60 – Excerpt from Page 59 of Exhibit 4.

19

20

21

22

23

24

25

26

27   Figure 61 – Excerpt from Page 60 of Exhibit 4.
28
                                                   33
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 34 of 50




1

2

3

4

5

6

7

8

9

10
     Figure 62 – Excerpt from Page 61 of Exhibit 4.
11

12

13

14

15

16

17

18

19

20

21

22

23

24
     Figure 63 – Excerpt from Page 62 of Exhibit 4.
25

26

27

28
                                                   34
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 35 of 50




1

2

3

4

5

6

7

8

9    Figure 64 – Excerpt from Page 63 of Exhibit 4.

10

11

12

13

14

15

16

17

18

19

20   Figure 65 – Excerpt from Page 64 of Exhibit 4.
21

22

23

24

25

26

27

28
                                                   35
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 36 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13

14
     Figure 66 – Excerpt from Page 65 of Exhibit 4.
15

16

17

18

19

20

21

22

23

24

25

26

27
     Figure 67 – Excerpt from Page 66 of Exhibit 4.
28
                                                   36
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 37 of 50




1

2

3

4

5

6

7

8
     Figure 68 – Excerpt from Page 67 of Exhibit 4.
9

10

11

12

13

14

15

16

17

18

19

20

21

22

23
     Figure 69 – Excerpt from Page 68 of Exhibit 4.
24

25

26

27

28
                                                   37
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 38 of 50




1

2

3

4

5

6

7

8    Figure 70 – Excerpt from Page 69 of Exhibit 4.
9

10

11

12

13

14

15

16

17

18

19

20

21
     Figure 71 – Excerpt from Page 70 of Exhibit 4.
22

23

24

25

26

27

28
                                                   38
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 39 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13
     Figure 72 – Excerpt from Page 71 of Exhibit 4.
14

15

16

17

18

19

20

21

22

23

24
     Figure 73 – Excerpt from Page 72 of Exhibit 4.
25

26

27

28
                                                   39
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 40 of 50




1

2

3

4

5

6

7

8

9

10

11
     Figure 74 – Excerpt from Page 73 of Exhibit 4.
12

13

14

15

16

17

18

19

20

21
     Figure 75 – Excerpt from Page 74 of Exhibit 4.
22

23

24

25

26

27

28
                                                   40
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 41 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13
     Figure 76 – Excerpt from Page 75 of Exhibit 4.
14

15

16

17

18

19

20

21

22

23

24

25

26

27

28
                                                   41
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 42 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13

14
     Figure 77 – Excerpt from Page 76 of Exhibit 4.
15

16

17

18

19

20

21

22

23
     Figure 78 – Excerpt from Page 77 of Exhibit 4.
24

25

26

27

28
                                                   42
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 43 of 50




1

2

3

4

5

6

7

8
     Figure 79 – Excerpt from Page 78 of Exhibit 4
9

10

11

12

13

14

15

16

17

18   Figure 80 – Excerpt from Page 79 of Exhibit 4.

19

20

21

22

23

24

25

26

27   Figure 81 – Excerpt from Page 80 of Exhibit 4.

28
                                                   43
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 44 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13

14   Figure 82 – Excerpt from Page 81 of Exhibit 4.
15

16

17

18

19

20

21

22
     Figure 83 – Excerpt from Page 82 of Exhibit 4.
23

24

25

26

27

28
                                                   44
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 45 of 50




1

2

3

4

5

6

7

8

9
     Figure 84 – Excerpt from Page 83 of Exhibit 4.
10

11

12

13

14

15

16

17

18

19

20

21

22

23   Figure 85 – Excerpt from Page 84 of Exhibit 4.
24

25

26

27

28
                                                   45
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 46 of 50




1

2

3

4

5

6

7

8
     Figure 86 – Excerpt from Page 85 of Exhibit 4.
9

10

11

12

13

14

15

16

17

18   Figure 87 – Excerpt from Page 86 of Exhibit 4.

19

20

21

22

23

24

25

26

27
     Figure 88 – Excerpt from Page 87 of Exhibit 4.
28
                                                   46
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 47 of 50




1

2

3

4

5

6    Figure 89 – Excerpt from Page 87 of Exhibit 4.

7

8

9

10

11

12

13

14

15

16

17

18

19

20

21   Figure 90 – Excerpt from Page 88 of Exhibit 4.

22

23

24

25

26

27

28
                                                   47
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 48 of 50




1

2

3

4

5

6

7

8

9

10

11

12

13

14
     Figure 91 – Excerpt from Page 89 of Exhibit 4.
15

16

17

18

19

20

21

22

23

24

25

26

27
     Figure 92 – Excerpt from Page 90 of Exhibit 4.
28
                                                   48
                                           ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 49 of 50



           24.        Plaintiff is entitled to recover damages adequate to compensate for Defendant's
1

2    infringement.

3          25.        Defendant’s actions complained of herein will continue unless Defendant is enjoined
4    by this Court.
5
           26.        The ’195 Patent is valid, enforceable, and was duly issued in full compliance with
6
     Title 35 of the United States Code.
7
           27.        Defendant has committed these acts of literal infringement, or infringement under
8

9
     the doctrine of equivalents of the ’195 Patent, without license or authorization.

10         28.        As a result of Defendant's infringement of the ’195 Patent, injured Plaintiff has

11   suffered monetary damages and is entitled to a monetary judgment in an amount adequate to
12   compensate for Defendant's past infringement, together with interests and costs.
13
           29.        Plaintiff is in compliance with 35 U.S.C. § 287.
14
           30.        As such, Plaintiff is entitled to compensation for any continuing and/or future
15
     infringement of the ’195 Patent up until the date that Defendant ceases its infringing activities or
16

17   until expiration projected by Google Patents to be no earlier than February 6, 2032.

18         31.        Defendant’s infringement is willful as it had knowledge of the patents through its

19   Freedom to Operate analysis performed on information and belief, through conversations about its
20
     alleged infringement with counsel for Display Technologies, LLC, and via this lawsuit.
21

22                                    DEMAND FOR JURY TRIAL
23           32.      Plaintiff, under Rule 38 of the Federal Rules of Civil Procedure, requests a trial by jury
24   of any issues so triable by right.
25                                         PRAYER FOR RELIEF
26           WHEREFORE, Plaintiff asks the Court to:
27           (a)      Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;
28           (b)      Enter an Order enjoining Defendant, its agents, officers, servants, employees,
                                                       49
                                               ORIGINAL COMPLAINT
        Case 5:24-cv-00703-NC Document 1 Filed 02/06/24 Page 50 of 50




1    attorneys, and all persons in active concert or participation with Defendant who receives notice of the
2    order from further infringement of Patents (or, in the alternative, awarding Plaintiff running royalty
3    from the time judgment going forward);
4           (c)     Award Plaintiff damages resulting from Defendants infringement in accordance with
5    35 U.S.C. § 284; et al.
6                                                  (d) Award Plaintiff such further relief to which
7    the Court finds Plaintiff entitled under law or equity
8

9    Dated: February 6, 2024                       Respectfully served,
10
                                                   GARTEISER HONEA, PLLC

11                                                 /s/ Randall Garteiser
12
                                                   Randall Garteiser
                                                   CA State Bar No. 231821
13                                                 rgarteiser@ghiplaw.com
14
                                                   Christopher A. Honea
                                                   CA State Bar No. 232473
15                                                 chonea@ghiplaw.com
16                                                 GARTEISER HONEA, PLLC
                                                   119 W. Ferguson Street
17                                                 Tyler, Texas 75702
18                                                 Telephone: (903) 705-7420

19                                                 Attorneys for Plaintiff
20

21

22

23

24

25

26

27

28
                                                     50
                                             ORIGINAL COMPLAINT
